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1                   IN THE UNITED STATES DISTRICT COURT

2                      FOR THE DISTRICT OF NEW MEXICO

3
     UNITED STATES OF AMERICA,          )
4                                       )
                       Plaintiff,       )
5                                       )
                     vs.                )   NO: 14-CV-1025 RB-SMV
6                                       )
     THE CITY OF ALBUQUERQUE,           )
7                                       )
                       Defendant.       )
8

9

10                        TRANSCRIPT OF PROCEEDINGS
                        TELEPHONIC STATUS CONFERENCE
11                  BEFORE THE HONORABLE ROBERT C. BRACK
                        UNITED STATES DISTRICT JUDGE
12                         THURSDAY, JULY 12, 2018
                                  11:14 A.M.
13                LAS CRUCES, DOÑA ANA COUNTY, NEW MEXICO

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21        (Proceedings recorded by machine shorthand and
     transcript produced by Computer-Aided Transcription.)
22
     REPORTED BY:          VANESSA I. ALYCE, RPR, NM CCR #259
23                         Federal Official Court Reporter
                           100 N. Church Street
24                         Las Cruces, NM 88001
                           Phone: (575) 528-1430
25                         Email: Vanessa_Alyce@nmcourt.fed.us
     Case 1:14-cv-01025-JB-SMV Document 389 Filed 07/19/18 Page 2 of 19
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1    TELEPHONIC APPEARANCES:

2          FOR THE UNITED STATES:

3                      UNITED STATES ATTORNEY'S OFFICE
                       District of New Mexico
4                      201 Third St. NW, Ste. 900
                       Albuquerque, NM 87102
5                      BY: ELIZABETH M. MARTINEZ, ESQ.

6                      and

7                      U.S. DEPARTMENT OF JUSTICE
                       905 Pennsylvania Ave. NW
8                      Washington, D.C. 20579
                       BY: STEPHEN RYALS, ESQ.
9
           FOR THE CITY OF ALBUQUERQUE:
10
                       CITY ATTORNEY'S OFFICE
11                     P.O. Box 2248
                       Albuquerque, NM 87103
12                     BY: JERAMY SCHMEHL, ESQ.
                            ESTEBAN ANGEL AGUILAR, JR., ESQ.
13                          SAMANTHA M. HULTS, ESQ.
                            LINDSAY FAY VAN METER, ESQ.
14
           FOR THE INTERVENOR APOA:
15
                       SANCHEZ, MOWRER & DESIDERIO, P.C.
16                     P.O. Box 1966
                       Albuquerque, NM 87103
17                     BY:   FREDERICK MOWRER, ESQ.

18
                       COMMANDER ROBERT MIDDLETON
19                     DEPUTY CHIEF ERIC GARCIA
                       LIEUTENANT CORI LOWE
20                     Albuquerque Police Department

21                     HONORABLE LORENZO F. GARCIA, RET.

22                     DIONNA K. FORD, Law clerk

23

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1                       (In Open Court at 11:14 A.M.)

2                 THE COURT:    Good morning, this is the United

3    States of America versus City of Albuquerque.          Our monthly

4    status conference.

5                 Representing the City of Albuquerque this

6    morning, appearing telephonically, are Mr. Aguilar,

7    Ms. Hults, Mr. Schmehl, and Ms. Van Meter.          Representing the

8    Government is Ms. Martinez and Mr. Ryals.          And representing

9    the APOA is Mr. Mowrer.       Is anybody else -- oh, and Judge

10   Garcia is on the line as well.

11                HON. LORENZO GARCIA:      Yes.   Good morning, Judge

12   Brack.

13                THE COURT:    Good morning.

14                Good morning to you all.       We're set for our July

15   status conference and I have a proposed agenda for the

16   conference from the parties.       And let's begin with Number 1.

17                Mr. Aguilar, you wanted to introduce a new member

18   of your team?

19                MR. AGUILAR:     Yes, thank you, Judge.

20                Your Honor, and everyone, this is Mr. Aguilar.

21   It's my pleasure to introduce Lindsay Van Meter to the team.

22   I'll let her give a brief introduction of herself, but

23   needless to say, we are thrilled to have her join this

24   effort.    So I'll turn it over to Lindsay.

25                MS. VAN METER:     Good morning, Your Honor and
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1    Counsel.    I'm happy to join this team and be a part of this

2    process.    My -- I have four years of clerking experience at

3    the New Mexico Court of Appeals, four years of private

4    practice and then six years clerking for Judge Armijo.               I'm

5    happy to join the team.

6                 THE COURT:    Well, welcome, Ms. Van Meter.        I'm

7    glad to have you on board.

8                 The second item is the -- well, relating to the

9    promotional policy that we have -- the City's motion and the

10   APOA response were set for an oral argument on Monday --

11   next Monday, I guess -- no, it's two weeks, I guess.            Monday

12   the 23rd, at 1:00.      And we're -- I've agreed to allow

13   counsel to appear telephonically.        I'm willing to do that

14   for hearings that don't extend longer than 30 minutes;

15   otherwise, sometimes it's hard to make a record, but the

16   parties have indicated that they can keep it within 30.

17                Ms. Hults and Mr. Mowrer?

18                MS. HULTS:    Morning, Your Honor.      This is

19   Samantha Hults for the city.

20                Yes, the parties have discussed this, and we

21   appreciate the Court assisting us in coming to a

22   determination on this matter.        We believe that 30 minutes is

23   sufficient between myself and Mr. Mowrer.          As the DOJ

24   indicated, they did not participate in the briefing and

25   don't expect to have an oral argument, so 30 minutes should
     Case 1:14-cv-01025-JB-SMV Document 389 Filed 07/19/18 Page 5 of 19
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1    be enough time.

2                 MR. MOWRER:    This is Fred Mowrer, Your Honor, and

3    I concur.

4                 THE COURT:    Good enough.     Well, I'll talk with

5    you all Monday the 23rd at 1:00 P.M.         Call the same

6    number, I guess, that you called today.

7                 Is that right, Jess?

8                 COURT CLERK:     We'll send a Meet Me Line number.

9                 THE COURT:    Jessica will send a Meet Me Line

10   number to you between now and the 23rd.

11                MS. HULTS:    Thank you, Your Honor.

12                THE COURT:    Of course.    Thank you, Mr. Mowrer and

13   Ms. Hults.

14                Number 3 is update on the APD Internal Affairs

15   report regarding use-of-force investigation backlog.           This

16   indicates that Cdr. Middleton is going to take up that item.

17   Is he on the line?

18                CDR. MIDDLETON:     Yes, sir.

19                THE COURT:    Commander.

20                CDR. MIDDLETON:     So we developed something in

21   Internal Affairs Force Division, and it's the title sheet

22   for the entire backlog, it's the Project Status Report.              We

23   just updated it this morning.        And I believe Jeramy Schmehl

24   is going to e-mail that out so you can have a visual of what

25   this looks like, but from the update this morning, we have
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1    the entire backlog listing that it represents.

2                 So in the columns, you'll see we have our

3    starting total of 214 use-of-force cases and 101

4    show-of-force cases and 26 serious use-of-force cases.               And

5    just for the visual and so everybody can see this, we have

6    the cases at a detective level.        Right now we have 13 cases

7    that are issued to detectives that they're currently

8    investigating.     Fifteen cases right now are at the sergeant

9    level, and those should be closed out very soon.           We have

10   three cases that we've looked at that are within policy, and

11   they agreed with the original findings.         One case was closed

12   out of policy.     And that's one of the most important things

13   and I think everybody is most interested in is how many

14   cases are we closing out that we disagree with the original

15   findings.    We're going to keep track of that.

16                We're also following the advice of Dr. Ginger.

17   And he requested that we report on the amount of time it

18   takes.    I reported to him yesterday that it takes -- of

19   these cases that we've investigated so far, the minimum

20   amount of time is 14 hours that it took for one case and the

21   max was 40 hours.      So we created a mean time that will be

22   listed on every one of these.        And it represents the time

23   spent on reports, videos, data collection, narrative, and

24   the total time.

25                So once we get about 20 of these cases done,
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1    we'll be able to project out how long this will take.            And

2    then I'll also be updating a staffing proposal to the

3    executive staff to let them know we either do have enough

4    staffing or we might need more to close that out within the

5    time limits.

6                 One of the interesting things that we found was

7    doing a round table of the backlog review process.           And what

8    everybody has realized now, the detectives doing this, the

9    sergeants, me, Jeramy, everybody, is that each one of these

10   cases is a case study.      And this case study is going into

11   great depths with each officer.        And it's very similar to

12   developing -- to something that's already been investigated

13   and now these reviewers are looking at it to -- at the --

14   not only the officer's level, but the sergeant's, the

15   lieutenant's, the commander's, all the way through to

16   completion with us.      And we're using -- we're developing and

17   collecting trends from this to make sure that we do it right

18   in the future.

19                I'll just kind of cut it off there, unless you

20   have questions.

21                THE COURT:    Thank you, Commander.

22                And anyone from the Council or DOJ want to

23   respond or weigh in on this?

24                MS. MARTINEZ:     Your Honor, if I may, Elizabeth

25   Martinez.    You should be aware that Cdr. Middleton is making
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1    a presentation to the monitor and the parties every week on

2    the backlog, so he is keeping us very fully informed on

3    this.    We are getting a -- the report that he referred to,

4    it's a physical report, every week.         This is a very, very

5    thorough, conscientious effort that he and his staff are

6    undertaking.     And as he indicated, it is a learning process

7    that they are using in a very conscientious way, not only as

8    they deal with the backlog, but also as they think about

9    training and as they think about putting together a training

10   at the Academy.

11                I believe that Cdr. Middleton indicated that he

12   is going to have Mr. Schmehl submit that report to the

13   Court.    If so, I'd request that it be identified as

14   Exhibit 1.    We will be ordering the transcript of this

15   status conference, as we do, so that we can make it

16   available to the amici and the stakeholders, and we would

17   like to make sure we include that as a part of the

18   transcript.     Thank you, Judge.

19                      (Discussion off the record.)

20                THE COURT:    So my court reporter just indicated

21   we don't maintain exhibits; you do.         But I'm glad for you

22   to -- I guess, without objection, make that -- make that an

23   exhibit to this status conference.        And it won't be a part

24   of the transcript, we won't have it here, but it will be

25   available for folks that you're disseminating copies of the
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1    transcripts to.     You just send it along with them.

2                 MS. MARTINEZ:     Judge, then, perhaps what we can

3    do is, as you know, in the past, when we have had exhibits

4    to public hearings, we have submitted a pleading that makes

5    the exhibits a part of the formal record.

6                 THE COURT:    Yes, ma'am, that's fine.

7                 MS. MARTINEZ:     Perhaps we can do it that way.

8                 THE COURT:    That would be great.

9                 MS. MARTINEZ:     Thank you, Judge.

10                THE COURT:    Anyone from the City want to be, or

11   Mr. Mowrer, want to be heard on this Cdr. Middleton report?

12                MR. MOWRER:    This is Fred Mowrer, Your Honor.

13   No, thank you.

14                THE COURT:    All right.

15                MR. SCHMEHL:     Nothing more from the City, either,

16   Your Honor.

17                THE COURT:    Let's look at Number 4, then, update

18   on the CASA paragraph 298, Outcomes Assessment Report.               And

19   I guess the draft was distributed to the parties for

20   comments on July 1st.      Comments are due on the 15th to --

21   due to the monitor on the 15th with a report to be filed on

22   August 1st.

23                And Dr. Ginger, I guess, is on vacation today.

24   Ms. Martinez?

25                MS. MARTINEZ:     Judge, we just wanted to make sure
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1     you were aware that things are proceeding apace and that we

2     fully expect that the report will be filed timely, as

3     expected.

4                  THE COURT:    That's good news.     I appreciate that.

5                  Mr. Schmehl?

6                  MR. SCHMEHL:    Good morning, Your Honor.      The City

7     has had some internal discussions and anticipates getting

8     the comments back to the monitor tomorrow.

9                  THE COURT:    Sounds great.    Shouldn't be any

10    problem meeting the August 1st report date.         I appreciate

11    that.   And glad to have that done.

12                 Number 5 is an update on the implementation of

13    the Compliance Plan under the joint stipulation suspending

14    the CASA paragraph 308.

15                 Mr. Schmehl?

16                 MR. SCHMEHL:    Yes, Your Honor.     As has been the

17    case in past status conferences, I'll pass this off as soon

18    as I received it [sic] to Lt. Lowe to update the Court on

19    the Compliance Plan.

20                 LT. LOWE:    Good morning, Judge.     I wanted to give

21    a quick update on the Compliance Plan from the last status

22    hearing.    So out of the -- after the last status hearing, we

23    requested to amend a couple of the deadlines out to this

24    next second status time frame to ensure that we were able to

25    meet the tasks at hand.      So from June 1st through
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1     July 31st of 2018, there are 13 new cases pending for APD

2     to complete.    Of those, there's only three that deadlines

3     have come and passed.      And all three of those tasks have

4     been completed to date; therefore, we're 100 percent for

5     right now.    But also keep in mind that there are two tasks

6     that are incomplete from the first one, and that is just

7     pending the hiring process for our video review and getting

8     units for both IA Force and then Compliance and get them

9     trained.

10                 So to date, there's 83 tasks that have come to

11    pass.   And 70 out of those 83 have been completed on or

12    before the deadline date, which is 83.34 percent.          There's

13    been 12.05, or 10 out of 83 tasks that have been completed;

14    however, that was after the original deadline.          And again,

15    there are a couple that -- 3.61 that are not completed as of

16    to date, but we're just waiting for the hiring process.              We

17    will complete the rest of them by July 31st, pending any

18    circumstances that keep us from doing so.

19                 That's all I have for the Compliance Plan, if

20    there's any questions for that.

21                 THE COURT:    Any questions for Lt. Lowe?      None

22    from me, Lieutenant.

23                 Chief Garcia, did you have -- want to weigh in?

24                 D.C. GARCIA:    Good afternoon, Your Honor.       This

25    is Deputy Chief Garcia.      I just wanted to talk about the
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1     schedule for amici meetings we have scheduled for next week,

2     our next round of the meetings for all the stakeholders will

3     begin on July 16th and they will go through July 18th.           As

4     of right now, five of the six meetings have been set.           We're

5     just waiting to hear back from the McClendon subclass.

6                  THE COURT:    All right.    And I see the schedule

7     laid out here in my proposed agenda and pleased that those

8     are being done -- well, as quickly and, I guess, over a

9     period of three days.      It looks like you-all are going to

10    have a busy couple of days.       As if you weren't busy all the

11    time.

12                 Anything else on the update or the schedule of

13    stakeholders?

14                 MS. MARTINEZ:    Judge, Elizabeth Martinez.       I just

15    want to let the Court know that D.C. Garcia and Lt. Lowe are

16    following through on their commitment to meet with the amici

17    and stakeholders every six weeks, so they are being very

18    conscientious about making sure that they are updating these

19    folks regularly.     And these are substantive updates.

20    They're very, very thorough updates and they are very, very

21    much appreciated by the amici and the stakeholders.

22                 THE COURT:    Well, I appreciate the -- and I'm

23    sure they do -- appreciate the words of encouragement there.

24                 Number 6 is the update on Use of Force Suite.

25                 Mr. Schmehl?
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1                  MR. SCHMEHL:    Yes, Your Honor.     Thank you.    So

2     this agenda item is just an update to you -- to the Court

3     and the community on how things are going with the

4     reformatting and really redefinition of these policies.

5     Standard Operating Procedure 2-52, which is the General

6     Use-of-Force Policy, was approved yesterday by the policy --

7     by the PRB, the Policy Procedure Review Board.          And the next

8     step will be the Police Oversight Board for their 30-day

9     period of review and comment.       And then the process

10    anticipated by paragraphs 147 and 148 would begin at that

11    15-day mark.

12                 The next one is 2-53, which is definitions

13    surrounding the use of force.       That was presented this

14    morning at 10:00 A.M. before the Office of Policy Analysis

15    by Cdr. Middleton.     And the next step for that won't be --

16    will be to be posted on Priority DMS for a period of review

17    by sworn personnel.     And that will be a seven-day period.

18                 2-54, which is the Intermediate Weapon Policy was

19    discussed this past Monday.       And before that meeting, very

20    short in time before that meeting, the City provided a

21    revision based upon comments from the monitor and parties.

22    So given that short -- short notice period, we are giving

23    additional time to provide comments.        And that will be till

24    2:00 tomorrow.     And that is on 2-54, which is the

25    Intermediate Weapons Policy.
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1                  Standard Operating Procedure 2-55, which is the

2     de-escalation policy, which is a brand-new policy for the

3     Department, is going to have comments coming back from the

4     parties and monitor tomorrow.       And then we will have a

5     meeting on July the 20th.      And that meeting was

6     rescheduled from earlier in the calendar because of a

7     conflict, but that meeting will be on July the 20th where

8     we'll have discussion with the parties and monitor.           And the

9     City, of course, will receive those comments and amend the

10    draft policy accordingly.

11                 And then, finally, the 2-50 -- what would be

12    2-56, Force Reporting Investigations, we anticipate -- the

13    City anticipates, rather, getting that out to the monitor

14    and parties and then getting it through this discussion

15    period this week.

16                 And that's the update, Your Honor.        And I stand

17    for any questions you may have.

18                 THE COURT:    Thank you.

19                 Cdr. Middleton, did you want to add anything?

20                 CDR. MIDDLETON:     I think the presentations have

21    been going well.     We had Dr. Cass ask us a question today

22    about what we thought of the process.        This is my first time

23    going through a process like this, and a lot of people

24    spoke, but the process, I think, is going well.          We got

25    input from -- from the CPSs.       We got input from POB.      We got
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1     input from stakeholders.      We took every comment and gave a

2     good thorough review, and we actually added a lot of the

3     comment that the public gave us into the policy.          So I think

4     the public and stakeholders will be happy with what they see

5     as well.

6                  THE COURT:    Thank you, Commander.

7                  Any comment from -- Mr. Mowrer, you got anything?

8                  MR. MOWRER:    No, sir.    Thank you.

9                  THE COURT:    Ms. Martinez?

10                 MS. MARTINEZ:    Judge, I believe that the City and

11    the police department have been terrific about the way they

12    have included the community in this review process.           And in

13    particular, we greatly appreciate the fact that they have

14    included the Police Oversight Board.        As the Court is well

15    aware, POB repeatedly appealed to the Court about the City's

16    failure in the past to permit them to participate in the

17    policy review process.      And they were extremely concerned

18    because it is part of their mandate under the ordinance that

19    established that entity.      And POB has had a very significant

20    role in this process.      And beyond that, the City and the

21    police department have also given the POB a role in

22    permitting them to use Police Oversight Board meetings as to

23    a place for the community to review policies and come and

24    express their views about policies as they are being

25    reviewed and revised.      So DOJ really commends their efforts
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1     in this regard.

2                  THE COURT:    Well, thank you, Ms. Martinez.       And

3     I'm hearing a positive thread run through the entire meeting

4     that the -- some of the renewed spirit of disclosure and

5     making everything readily apparent to the community is

6     carrying through.     I appreciate the efforts of everyone

7     involved, but I'm appreciating that this new spirit that we

8     talked about with the mayor last fall seems to be driving a

9     real renewed effort to comply.       And I'm -- I appreciate

10    everyone's involvement in that.

11                 And welcome to Ms. Van Meter, again.

12                 We've got a status conference set for

13    August 9th.    I'm not going to be available on that date.

14    I'm going to check with Judge Vidmar to see if he could host

15    the status party that day.       And if he isn't, what we might

16    consider doing is scheduling that meeting for later in

17    August and maybe combine that and the September meeting.

18    But we'll be back in touch about that after we communicate

19    with Judge Vidmar.

20                 Is there anything else I can help you with this

21    morning?

22                 MALE SPEAKER:    Not from me, Your Honor.

23                 MS. MARTINEZ:    Your Honor, may I ask the Court to

24    consider whether it might schedule a public hearing sometime

25    in September?    And the reason that I would ask the Court to
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1     consider that is that on August 31st, we will have the

2     second report that will be filed, the second interim report.

3     That should be a more substantive report on both the

4     technical assistance that has been provided, plus the

5     Compliance Plan, whether or not the City has been able to

6     follow through completely on the Compliance Plan.          And we

7     just ask that the Court consider whether it might be able to

8     hold another public hearing after that report has been

9     filed.

10                 THE COURT:    So I'm looking at the schedule, the

11    proposed schedule that's laid out, and I didn't have another

12    in-person status conference scheduled, I don't think, until

13    November the 8th.

14                 Dionna, are you on?

15                 LAW CLERK:    I am, sir.

16                 THE COURT:    I'll tell you what, if the parties

17    jointly agree that an earlier and perhaps in addition

18    in-person status conference is necessary in September, I'm

19    willing to consider it.      File some pleading alerting me to

20    that, if you would like.

21                 And anything else?

22                 MS. MARTINEZ:    Not on behalf of the United

23    States, Your Honor.     Thank you.

24                 THE COURT:    All right.    Thanks very much.

25                 Appreciate everyone's efforts and I'll hang up.
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1     You-all have a great day.

2                (The proceedings concluded at 11:39 A.M.)

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1                          UNITED STATES OF AMERICA

2                           DISTRICT OF NEW MEXICO

3

4                     CERTIFICATE OF OFFICIAL REPORTER

5           I, Vanessa I. Alyce, RPR, NM CCR, and Federal Official

6     Court Reporter in and for the United States District Court

7     for the District of New Mexico, do hereby certify that

8     pursuant to Section 753, Title 28, United States Code, that

9     I did report in stenographic shorthand to the best of my

10    skill and ability the foregoing pages 1-18 of the

11    proceedings set forth herein, that the foregoing is a true

12    and correct transcript of the stenographically recorded

13    proceedings held in the above-entitled matter and that the

14    transcript page format is in conformance with the

15    regulations of the Judicial Conference of the United States.

16

17    Dated this 17th day of July 2018.

18

19    S/Electronically Filed
      Vanessa I. Alyce, RPR, NM CCR #259
20    Federal Official Court Reporter
      100 N. Church Street
21    Las Cruces, NM 88001
      Phone: (575) 528-1430
22    Email: Vanessa_Alyce@nmcourt.fed.us

23

24

25
